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                                        10
                                                                       UNITED STATES DISTRICT COURT
                                        11                                  DISTRICT OF NEVADA
                                        12    CMB INFRASTRUCTURE GROUP IX, LP,               Case No. 2:21-cv-00214-JAD-DJA
                                              a California limited partnership; CMB
Las Vegas, NV 89169




                                        13    INFRASTRUCTURE GROUP XI, LP, a
                                              California limited partnership; CMB            PLAINTIFFS AND DEFENDANT BANCO
                                        14    EXPORT, LLC, a Texas limited liability         SANTANDER, S.A.’S PROPOSED
                                              company,                                       STIPULATION RESULTING FROM THE
                                        15
                                                                                             NOVEMBER 15, 2021 COURT ORDER
                                                       Plaintiffs,                           TO MEET AND CONFER
                                        16
                                              vs.
                                        17
                                              COBRA ENERGY INVESTMENT
                                        18    FINANCE, INC., a Delaware corporation,
                                              COBRA ENERGY INVESTMENT, LLC, a
                                        19    Delaware corporation, COBRA
                                              INDUSTRIAL SERVICES, INC., a Delaware
                                        20    corporation, COBRA THERMOSOLAR
                                              PLANTS, INC., a Nevada corporation,
                                        21    COBRA INSTALACIONES Y SERVICIOS
                                              S.A., a Spanish corporation, ACS
                                        22    SERVICIOS COMUNICACIONES Y
                                              ENERGIA, S.L., a Spanish corporation,
                                        23    BANCO SANTANDER, S.A., a Spanish
                                              Corporation, TONOPAH SOLAR ENERGY,
                                        24    LLC, a Delaware limited liability company,
                                              and DOES I through 50, inclusive,
                                        25
                                                      Defendants.
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                                         1          Plaintiffs CMB Infrastructure Investment Group IX, LP, CMB Infrastructure Investment
                                         2   Group XI, LP, and CMB Export, LLC (collectively, “Plaintiffs”), by and through their attorneys of
                                         3   record, and Defendant Banco Santander, S.A. (“Santander”), by and through its respective attorneys
                                         4   of record, hereby stipulate as follows:
                                         5          1.      On November 15, 2021, this Court issued an Order Denying Motion to Remand;
                                         6   Resolving Motions to Dismiss; Granting in Part and Denying as Moot in Part Request for
                                         7   Jurisdictional Discovery; Granting Motion to Compel Arbitration; and Staying Case (hereinafter,
                                         8   “November 15 Order”) (ECF Doc. No. 70);
                                         9          2.      The November 15 Order granted Defendants’ motion to compel arbitration and
3993 Howard Hughes Parkway, Suite 600




                                        10   stayed the remainder of this case, except to permit limited jurisdictional discovery as to Santander;
                                        11          3.      The November 15 Order directed Plaintiffs and Santander to meet and confer on the
                                        12   length and scope of limited jurisdictional discovery as to Defendant Santander and file a proposed
Las Vegas, NV 89169




                                        13   scheduling order within ten days of the November 15 Order;
                                        14          4.      Plaintiffs and Santander met and conferred regarding the length and scope of limited
                                        15   jurisdictional discovery as to Defendant Santander on November 22, 2021;
                                        16          5.      Plaintiffs and Santander have agreed to stay temporarily any limited jurisdictional
                                        17   discovery as to Defendant Santander;
                                        18          6.      Plaintiffs and Santander stipulate that:
                                        19                  a.   Jurisdictional discovery as to Santander shall be stayed for six months; and
                                        20                  b. On or before May 24, 2022, Plaintiffs and Santander shall submit a proposed
                                        21                       scheduling order governing limited jurisdictional discovery as to Defendant
                                        22                       Santander.
                                        23          This is the Parties’ first request for a stay of limited jurisdictional discovery as to Defendant
                                        24   Santander, and is made before the expiration of any discovery schedule in this action. This
                                        25   ///
                                        26   ///
                                        27   ///
                                        28   ///


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                                         1   Stipulation is made in good faith and is not intended for purposes of delay.
                                         2          Dated this 24th day of November, 2021.
                                         3
                                             LEWIS BRISBOIS                                        LEWIS ROCA
                                         4   BISGAARD & SMITH LLP                                  ROTHGERBER CHRISTIE LLP
                                         5   /s/ John S. Poulos                                    /s/ J Christopher Jorgensen
                                             John S. Poulos                                        J Christopher Jorgensen
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                                        11
                                             Attorneys for Plaintiffs
                                        12   CMB INFRASTRUCTURE GROUP IX, LP; CMB
                                             INFRASTRUCTURE GROUP XI, LP; and CMB
Las Vegas, NV 89169




                                        13   EXPORT, LLC
                                        14
                                                                                          ORDER
                                        15
                                                    IT IS SO ORDERED.
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                                        18                                                UNITEDJ.
                                                                                          DANIEL STATES DISTRICT JUDGE
                                                                                                   ALBREGTS
                                                                                          UNITED STATES MAGISTRATE JUDGE
                                        19
                                                                                          DATED November 29, 2021
                                                                                          DATED:
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                                         1                                   CERTIFICATE OF SERVICE
                                         2          I hereby certify that on this 24th day of November, 2021, I caused a true and accurate copy
                                         3   of the foregoing document entitled PLAINTIFFS AND DEFENDANT BANCO SANTANDER,
                                         4   S.A.’S PROPOSED STIPULATION RESULTING FROM THE NOVEMBER 15, 2021
                                         5   COURT ORDER TO MEET AND CONFER to be filed with the Clerk of the Court via the
                                         6   CM/ECF system, which will send an electronic copy to all interested parties.
                                         7

                                         8
                                                                                          /s/ Jessie M. Helm
                                         9                                               An employee of Lewis Roca
3993 Howard Hughes Parkway, Suite 600




                                                                                         Rothgerber Christie LLP
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Las Vegas, NV 89169




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